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EXHIBIT A
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GUARANTY

THIS GUARANTY ("Guaranty") is dated and effective as of the 25th day of November,
2003, by the undersigned, VLADIMIR SKLAROV (“Guarantor”), to NATIONALCITY BANK OF
MICHIGAN/ILLINOIS ("Lender") and has reference to the following facts and circumstances:

A. Pursuant to the terms of the Loan Agreement of an even date herewith, by and
between SHARON SKLAROV (“Borrower”) and Lender (“Loan Agreement”), Lender has agreed
to make (i) a term loan to Borrower in the amount of NINE MILLION SIX HUNDRED
THOUSAND DOLLARS ($9,600,000.00) (“Term Loan”), and (ii) a line of credit loan to Borrower
in the amount of FOUR MILLION TWO HUNDRED SIXTY-SIX THOUSAND DOLLARS
($4,266,000.00) (“Line of Credit Loan”) (Term Loan and Line of Credit Loan are collectively
“Loans’’);

B. The Loans are evidenced by (i) a Term Note of an even date herewith executed by
Borrower in the original principal amount of NINE MJLLION SIX HUNDRED THOUSAND
DOLLARS ($9,600,000.00) (“Term Note”), and (ii) a Line of Credit Note of an even date herewith
executed by Borrower in the original principal amount of FOUR MILLION TWO HUNDRED
SIXTY-SIX THOUSAND DOLLARS ($4,266,000.00) (“Line of Credit Note”) (Term Note and Line
of Credit Note are collectively “Notes’);

C, Guarantor has a financial interest in the real estate, fixtures, personal property and all
other types of property constituting the subject matter of the Loans, and it will be to the Guarantor’s
direct interest and financial advantage to enable Borrower to obtain the Loans, advances and other
financial assistance from Lender; and

D. Lender, as a condition precedent to making the Loans, advances, extensions of credit
and/or other financial accommodations to or for the benefit of Borrower, is requiring that Guarantor
execute and deliver this Guaranty in favor of Lender and Guarantor agrees to execute and deliver this

Guaranty,

NOW, THEREFORE, in consideration of the foregoing, Guarantor agrees as follows:

ARTICLE 1
DEFINITIONS AND TERMS

1.1 The following words, terms and/or phrases shall have the meanings set forth
thereafter and such meanings shall be applicable to the singular and plura] form thereo f, giving effect
to the numerical difference:

{a) "And/or." One or the other or both, or any one or more or all, of the things
or "Persons” (hereinafter defined) in connection with which the conjunction is used;

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(b)  "Borrower’s Liabilities". All obligations and liabilities of Borrower to
Lender (including without limitation, all debts, claims and indebtedness) for the Loans
pursuant to the Loan Agreement, the Notes and any other documents executed by Borrower
or any other Person in connection with the Loans, whether primary, secondary, direct,
contingent, fixed, or otherwise, heretofore, now and/or from time to time hereafter owing,
due or payable, however evidenced, created, incurred, acquircd, or owing, and however
arising, whether in writing or by oral agreement or operation of law or otherwise,

(c) "Borrower's Obligations.” Allterms, conditions, agreements, representations,
warranties, undertakings, covenants, guaranties, and provisions (other than Borrower’s

Liabilities) to be performed, observed, complied with or discharged by Borrower or any other
Person under the Loan Agreement, the Notes and the Loan Documents; and

(d) "Default." The definition ascribed to this term in Paragraph 5.1, below,

(c) “Person.” Any individual, sole proprictorship, partnership, joint venture,
trust, unincorporated organization, association, corporation, institution, enuily, party or
government (whether national, federal, state, county, city, municipal or otherwise, including,
without limitation, any instrumentality, division, agency, body or department thereof),

1.2 Except as otherwise defined in this Guaranty, all capitalized terms uscd herein shal}
have the definition ascribed therefor in the Loan Agreement.

ARTICLE 2
GUARANTY

2.1 Guarantor unconditionally, absolutely, continuingly and irrevocably guarantces to
Lender, Borrower’s prompt payment, in full, when due or declared due, of Borrower’s Liabilities and
Borrower’s prompt performance of Borrower’s Obligations (collectively “Guarantor’s Liabilities”).

2.2 As a condition to payment or performance of Guarantor’s Liabilites, Lender is not
required to (a) prosecute collection, or seck to enforce or resort to any remedies against Borrower
or any other party liable to Lender on account of Borrower's Liabilitics, Borrower’s Obligations or
any guaranty thereof, or (b) seck to enforce or resort to any remedies with respect to any security
interests, liens or encumbrances granted to Lender by Borrower or any other party liable to Lender
onaccount of Borrower’s Liabilities, Borrower’s Obligations, or any guaranty thercof. Lender shall
have no obligation to protect, secure or insure any of the foregoing security interests, liens or
encumbrances or the properties or interests in propertics subject thereto. Guarantor’s Liabilities sha}
in no way be impaired, affected, reduced or released by reason of (1) Lender's failure or delay to do
or take any of the actions or things described in this Guaranty, or (ii) the invalidity, unenforceability,
loss of or change in priority or reduction in or loss of value of any of the aforesaid security interests,
liens, and encumbrances. Guarantor agrees that Guarantor is directly and primarily liable with
Borrower, for Borrower’s Liabilities and Borrower’s Obligations, subjcct to the terms and provisions
hereof

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ARTICLE 3
REPRESENTATIONS, WARRANTIES AND COVENANTS

3.1 Guarantor represents and warrants to Lender that:

(a) The statements contained in the preamble to this Guaranty are true and
correct;

(b) This Guaranty, when duly executed and delivered, will constitute a legal,
valid, and binding obligation of Guarantor, enforceable against Guarantor in accordance with
its terms;

{c) The execution, delivery and/or performance by Guarantor of this Guaranty
shall not, by the lapse of time, the giving of notice or otherwise, constitute a violation of any
applicable law or any agrcement, instrument or document to which Guarantor is now or
hereafter is a party or by which Guarantor 1s or may become bound;

(d) Guarantor, now and at all times hereafter, shall be solvent and generally able
to pay Guarantor’s debts as such debts become due, and Guarantor now owns and shall at all
times hereafter own property which, at a fair valuation, exceeds the sum of said Guarantor’s
debts;

{e) Guarantor does not intend to incur or believes that Guarantor will incur debts
beyond his ability to pay as such debts mature;

(D There are no actions or proceedings which are pending or, to Guarantor’s
knowledge, threatened against Guarantor which might result in any materia] and adverse
change in Guarantor’s financial condition or materially or adversely affect Guarantor’s ability
to pay or perform Guarantor’s Liabilities;

(g) | Guarantor has reviewed independently all agreements, instruments and
documents executed by Borrower, and Guarantor has made an independent determination as
to the validity and enforceability thereof upon the advice of Guarantor’s own counsel, and
in executing and delivering this Guaranty to Lender, Guarantor is in no manner relying upon
Lender as to the validity and/or enforceability of any security interests of any kind or nature
granted by Borrower to Lender;

(h) Guarantor acknowledges and agrees that ijn executing this Guaranty and at all
times hereafter, Guarantor has rehed and will continue fo rely upon Guarantor’s own
investigation and upon sources other than Lender for all information and facts relating to the
ability of Borrower to pay and perform Borrowcr’s Liabilities and Borrower’s Obligations,
and Guarantor has not and will not hereafter rely upon Lender for any such information or
facts.

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(i) There are no pending or, to the knowledge of Guarantor, threatened
bankruptcy or like proccedings against or involving Guarantor under the Bankruptcy Code
of the United States, or any chapter thereof, or any like statute, state or federal;

(j} There arc no lawsuits, proceedings or investigations pending or, to the
knowledge of Guarantor, threatened against or affecting Borrower or Guarantor, at law or
equity, before any party or governmental or administrative agency or instrumentality which
would materially adversely affect Guarantor’s ability to repay the Loans; and

(k) There are no defenses, offsets or counterclaims that Borrower or Guarantor
have against the Lender and none of such partics is a party to or, to the knowledge of
Guarantor, threatened with any claims, causes of action or other proceedings before any court
or any other governmental, administrative, regulatory, adjudicatory or arbitrational body or
agency of any kind, which, if decided adversely to Borrower or Guarantor, would adversely
affect such parties or their ability to repay the Loans.

3.2. Guarantor covenants and agrees with Lender that:

(a) Allsecurity interests, lions, mortgages and encumbrances, if any, heretofore,
now and at any time or times hereafter granted by Guarantor to Lender shall secure
Guarantor’s Liabilities;

(b) Allindebtcdness, liability or liabilities now and at any time or times hereafler
owing by Borrower to Guarantor are hereby subordinated to Borrower’s Liabilities;

(c) All security interests, liens, mortgages and encumbrances which Guarantor
now has and from time to time hereafler may have upon Borrower's assets are hereby
subordinated to all security interests, liens, mortgages and encumbrances which Lender now
has and from time to time hereafter may have thereon; and,

(d) All indebtedness, liability or Habilitics now and at any time or times hereafter
owing to Guarantor or Borrower by any party lable to Guarantor or Borrower are hereby
subordinated to all indebtedness, liability or habilities owed by such party to Lender.

ARTICLE 4
WAIVERS

4.) Guarantor waives any and all right to assert against Lender any and all claims or
defenses based upon any failure of Lender to furnish to Guarantor any information or facts relating
to the ability of Borrower to pay and perform Borrower’s Liabilities and/or Borrower’s Obligations.

4.2 Guarantor waives all defenses, counterclaims, and offsets of any kind or nature in
connection with the validity and/or enforceability of the Loans or this Guaranty, arising directly or

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indirectly from the perfection, sufficiency, validity and/or enforceability of any hen, agreement,
instrument or document executed and delivered, by Borrower to Lender, or acquired by Lender from
Borrower.

4.3 Guarantor waives any and allright to assert against Lender any claim or defense based
upon any election of remedies by Lender which, in any manner, impairs, affects, reduces, releases,
or extinguishes Guarantor’s subrogation rights or right to proceed against Borrower for
reimbursement, or any other rights of Guarantor against Borrower, or against any other Person or
security, including, without limitation, any defense based upon an election of remedies by Lender
under any provision of Jaw or regulation of any governmental entity. Guarantor further waives any
principle or provision of law, statutory or otherwise, which is or might be in conflict with the terms
or provisions of this Guaranty. :

44 Guarantor waives and agrees not to asscrt or take advantage of (a) the defense of the
statute of limitations in any action hereunder or in any action for the collection of Guarantor’s
Liabilities; and (b) any defense that may arisc by reason of the incapacity, lack of authority, death
or disability of any other person or persons or the failure of Lender to file or enforce a claim against
the estate (in administration, bankruptcy or any other proceeding) of any other person or persons.

4,5 Guarantor waives any right Lo assert against Lender as a defense, counterclaim, setoff,
or crossclaim to the payment or performance of Guarantor’s Liabilities, any defense (legal or
equitable), setoff, counterclaim or claim which Guarantor may now or at any time or times hereafter
have against Borrowcr or any other Person hable to Lender in any way or manner.

46 Guarantor hereby waives notice of the following events or occurrences and agrees that
Lender may do any or all of the following in such manner, upon such terms and at such times as
Lender in its sole and absolute discrction deems advisable, without in any way impairing, affecting,
reducing, or releasing Guarantor from Guarantor’s Liabilities:

(a) Lender's acceptance of this Guaranty;

(b) Lender's heretofore, now or from time to time hereafter loaning monies or
giving or cxtending credit to or for the benefit of Borrower, whether pursuant to the Loan
Agreement or any amendments, modifications, or additions thereto, or alterations or
substitutions made herctofore, now or at any time or times hereafter;

(c) Borrower’s heretofore, now or at any time or times hereafter granting to
Lender security interests, liens or encumbrances in Borrower’s assets or Lendcr's heretofore,
now or from time to time hereafter obtaining, substituting for, releasing, waiving or
modifying any such security interests, liens or encumbrances;

(d) Lender's herctofore, now or at any time or times hercafter obtaining, releasing,
waiving or modifying any other Person's guaranty of Borrower’s Liabilities or Borrower's
Obligations or any sccurity interest, licn or encumbrance in any other Person's assets given

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to Lender to secure such Person's guaranty of Borrower’s Liabilities or Borrower’s
Obligations;

(ec) Presentment, demand, notices of default, nonpayment, partial payment and
protest, and all other notices or formalities to which Guarantor may be entitled;

(f) Lender's heretofore, now or at any time or times hereafter granting to
Borrower (and any other Person liable to Lender on account of Borrower’s Liabilities and/or
Borrower’s Obligations) any indulgences or extensions of me of payment or performance

of Borrower’s Liabilities and/or Borrower’s Obligations; and,

(2) Lender's heretofore, now or at any time or times hereafier accepting from
Borrower or any other Person any partial payment or payments on account of Borrower's
Liabilities or any collateral securing the payment thereof, or Lender's settling, subordinating,
compromising, discharging or releasing the same.

ARTICLE 5
DEFAULT

5.1 The occurrence of any one of the following events sha]) be decmed a default by
Guarantor ("Default") under this Guaranty:

(a) If Guarantor fails or neglects to perform, keep or observe any term, provision,
condition, covenant, warranty or representation contained in this Guaranty, which is required
to be performed, kept or observed by Guarantor,

(b) Occurrence of a default under any other agreement, instrument or docurnent
heretofore, now or at any time hereafter delivered by or on behalf of Guarantor to Lender in
connection with the Loans;

{c) If Guarantor fails to pay or perform any of Guarantor’s Liabilities when the
samc are due and payable or declared due and payable,

(d) If all or a substantial amount of Guarantor’s assets are seized, attached,
subjected to a writ of distress warrant, or levied upon, or come within the possession of any
receiver, trustec, custodian or assignee for the benefit of creditors,

(e) If a petition under the Bankruptcy Reform Act of 1978 or any similar law or
regulation shall be filed by Guarantor;

(f If Guarantor is enjoined, restrained or in any way prevented by court order
from conducting all or any material part of Guarantor’s business affairs or if'a petition under
any section or chapter of the Bankruptcy Reform Act of 1978 or any similar law or regulation
is filed against Guarantor and is not dismissed within sixty (60) days after the filing thereof;

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(v) lf an application is made by Guarantor for the appointment of a receiver,
trustee in bankruptcy or custodian for any of Guarantor’s assets,

(h) I an application ig made by any Person other than Guarantor for the
“eeewEPor trustee for any of Guarantor’s assets;

(i) Ifa notice of lien, levy or assessment is filed of record with respect to a
material portion of Guarantor’s assets by the United States or any department, agency or

instrumentality thereof, or by any state, county, municipal or other governmental agency, Or
if any taxes or debts owing at any time or times hercaficr to any one of them become a lien
or encumbrance upon Guarantor’s assets,

(j) If Guarantor is in default in the payment of any obligations or liabilitics owed
by Guarantor to any Person (other than Guarantor’s Liabilities) and such default is declared
and is not cured within the time, if any, specificd therefor in any agreement governing the
same;

{k) The incompetency of Guarantor or the appointment of a conservator or
guardian for all or any portion of Guarantor’s assets or any collateral securing payment and
performance of Guarantor’s Liabilities, or

() If Guarantor shall die.

5.2 All of Lender's rights and remedies under this Guaranty are cumulative and
nonexclusive,

5.3 Upon a Default, without notice by Lender to or demand by Lender of Guarantor,
Guarantor’s Liabilities shall be due and payable and enforccable against Guarantor, forthwith, at
Lender's principal place of business, whether or not Borrower's Liabilities are then duc and payable.

5.4. Lender, in its sole and absolute discretion, may exercise any one or more of the
following remedies:

(a) If Guarantor’s Liabilitics are not paid forthwith by Guarantor to Lender at
Lender's principal place of business, proceed to suit against Guarantor; at Lender's election,
one or more successive or concurrent suits may be brought hereunder by Lender against
Guarantor, whether or not suit has been commenced against Borrower, and in any such suit,
Borrower may be joincd (but need not be joined) as a party with Guarantor, and/or

(b) To the extent applicable, exercise any one or more of the rights and remedies
accruing to a secured party under the Uniform Commercial Code of Mlinois and any other
applicable law upon default by a debtor.

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5.5 Guarantor recognizes upon the occurrence of a Default, and ifno remedy of Jaw will
provide adequate relief to Lender, Lender may obtain injunctive relief’ any such case without the
necessity of proving actual damages.

5.6 Any and all notices given in connection with this Guaranty shall be deemed
adequately given only if in writing and addressed to the party for whom such notices are intended
at the address set forth below. All notices shall be sent by personal delivery, Federal Express or
other over-night messenger service, first class registered or certified mail, postage prepaid, return
receipt requested. A written notice shall be deemed to have been given to the recipient party on the
earlier of (a) the date it shall be delivered to the address required by this Guaranty, (b) the date

delivery shall have been refused at the address required by this Guaranty; or (c) with respect to
notices sent by mail, the date as of which the postal service shall have indicated such notice to be
undcliverable at the address required by this Guaranty. Any and all notices referred to in this
Guaranty or which either party desires to give lo the other, shall be addressed as follows:

If to Lender: NATIONAL CITY BANK OF MICHIGAN/ILLINOIS
One North Franktin Street, Suite 3600
Chicago, Illinois 60606
ATTN: LAURA L, AUWERDA, SENIOR VICE PRESIDENT

with a copy to: ROBBINS, SALOMON & PATT, LTD.
25 East Washington Street, Suite 1000
Chicago, Minois 60602
ATTN: ANDREW M. SACHS, ESQ.

Jf to Guarantor: VLADIMIR SKLAROV
221 South Ridge Road
Lake Forest, Ilinois 60007

with a copy to: DONALD LAVIN, ESQ.
95 Revere Drive, Suite J
Northbrook, Illinois 60062

ARTICLE 6
GENERAL

6.1 If at any time or times hereafter Lender (1) employs counsel for advice or other
representation, {i} to represent Lender in any litigation, contest, dispute, suit, or procceding or to
commence, defend or intervene, or to take any other action in or with respect to any litigation,
contest, dispute, suit, or proceeding (whether instituted by Lendcr, Guarantor, or any other Person)
in any way or respect relating to the Loans including, without limitation, the Notes, this Guaranty
or Guarantor’s affairs, and/or (ii) 1o enforce any rights of Lender against Borrower or Guarantor or
any other Person which may be obligated to Lender by virtue of the Loans, this Guaranty, and/or (2)
attempts to enforce or enforces any of Lender’s rights or remedies against Guarantor or Borrower,

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the reasonable costs, fees and expenses incurred by Lender or any subsequent holder in any manner
or way with respect to the foregoing, including, without limitation, reasonable attorneys’ fees, shall
be part of Guarantor’s Liabilities, payable by Guarantor to Lender or any subsequent holder, upon

demand,

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s*Guaranty 1s submitted to Len er at Lender’s principal plat ‘Business in
‘¢ been made. there this Guaranty shall be governed
aldity, construction, effect abd ‘ialvotherrespects
futess a6) btheSt Hfyois? Guarantor, in order to induce Lender to
accept this Guaranty, agrecs that all actions sor proceedings arising directly, indirectly or otherwise
in connection with, out of, related to or from this Guaranty shall be litigated, at Lender’s sole
discretion and election, only in courts having status within the City of Chicago, County of Cook,
State of Iinois. Guarantor hereby consents and submits to the jurisdiction of any local, state or

federal court located within said city, county and state.

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6.3. If any provision of this Guaranty or the application thereof to any Person or
circumstance is held invalid or unenforceable, the remainder of this Guaranty and the application of
such provision to other Persons or circumstances will not be affected thereby, the provisions of this
Guaranty being severable in any such instance.

6.4 Lender’s failure at any time hereafter to require strict performance by Guarantor of
any provision of this Guaranty shall not waive, affect or diminish any right of Lender to demand
strict compliance and performance with the terms hereof. No undertakings, agreements, warranties,
covenants, or representations of Guarantor contained in this Guaranty and no Default by Guarantor
under this Guaranty shall be deemed to have been suspended or waived by Lender unless such
suspension or waiver is by an instrument in writing signed by an officer of Lender and directed to

Guarantor specifying such suspension or waiver.

6.5 Guarantor shal] cooperate with Lender for the purpose of carrying out the provisions
of this Guaranty, taking any reasonable action and executing any agreement, instrument or document
which Lender may decm reasonably necessary or advisable to accomplish the purposes hereof.

6.6 Lender may assign, negotiate, pledge or otherwise hypothecate this Guaranty or any
of its rights and security hereunder to any bank, participant or financial institution, and in case of
such assignment, Guarantor will accord full recognition thereto and agrec that all rights and remedics
of Lender in connection with the interest so assigned shall be enforceable against Guarantor by such
bank, participant or financial institution with the same force and effect and to the same extent as the
same would have been enforceable by Lender but for such assignment.

6.7 This-Guaranty shal] continue in full force and effect until Guarantor’s Liabilities are
fully paid, performed and discharged, at which point in time Lender shall give Guarantor written
notice thereof atthe address specificd herein. This Guaranty shall remain and continue in full force
and effect notwithstanding the institution by or against Borrower or Guarantor of bankruptcy,
reorganization, readjustment, receivership or insolvency proceedings of any nature, or the rejection
of the documents evidencing and/or securing the Loans in any such proceedings, or otherwise. In

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{he event any payment by or on behalf of Borrower to Lender is held to constitute a preference under
the bankruptcy laws, or if for any other reason Lender is required to refund such payment or pay the
amount thereof to any other party, such payment by or on behalf of Borrower to Lender shall not
constitute a release of Guarantor from any liability hereunder, but Guarantor agrees to pay such

amount to Lender upon demand.

6.8 Guarantor warrants and represents to Lender that Guarantor has read this Guaranty
and understand the contents hereof, and that this Guaranty is enforceable against Guarantor in

accordance with its terms.

6.9 GUARANTOR HEREBY WAIVES THE RIGHT TO TRIAL BY JURY IN
ANY CIVIL ACTION, CLAIM, COUNTERCLAIM, CROSSCI.AIM, THIRD-PARTY
CLAIM, DISPUTE, DEMAND, SUIT OR PROCEEDING ARISING OUT OF OR IN ANY
WAY CONNECTED WITH THIS GUARANTY OR ANY OF THE OBLIGATIONS OF
GUARANTOR HEREUNDER, OR ANY RENEWAL, EXTENSION OR MODIFICATION
THEREOF, OR ANY CONDUCT OF GUARANTOR OR LENDER RELATING THERETO,
AND THAT ANY SUCH ACTION, CLAIM, COUNTERCLAIM, CROSSCLAIM, THIRD-
PARTY CLAIM, DISPUTE, DEMAND, SUIT OR PROCEEDING SHALL BE TRIED
BEFORE A JUDGE AND NOT BEFORE A JURY,

IN WITNESS WHEREOF, this Guaranty has been executed and delivered by Guarantor
jn favor of Lender as of the day and year first above. written.

GUARANTOR: |

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VLADIMIR SKLAROV _

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